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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                )
                                         )
                 Plaintiff / Respondent, )
                                         )
      v.                                 )               Case No. 09-20119-14-JWL
                                         )               Case No. 12-2422-JWL
JESUS RIOS-MENDOZA                       )
                                         )
                 Defendant / Petitioner. )
                                         )
_______________________________________)


                          MEMORANDUM AND ORDER

       By Memorandum and Order of October 16, 2012, this Court denied defendant’s

pro se petition to modify his sentence pursuant to 28 U.S.C. § 2255. Defendant has now

filed a pro se motion for reconsideration of that order (Doc. # 1008). The Court

summarily denies that motion for reconsideration.

       Defendant argues that the Court incorrectly stated that he made four trips with

drugs, when in fact three of those trips involves the transportation of money, not drugs.

Actually, the Court correctly stated in its order that defendant had helped to transport

“drugs or drug proceeds” on four occasions. Similarly, a quantity of drugs was attributed

to defendant for all four trips because they involved drugs or drug proceeds. Finally,

defendant complains of a long sentence, but he has not asserted any claim that would

make the ten-year mandatory minimum sentence inapplicable to his offense. Defendant

has not shown that the Court erred in denying his claim that his counsel was ineffective
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in failing to argue for a minimal- or minor-participant deduction; accordingly, the motion

for reconsideration is denied.


       IT IS SO ORDERED.


       Dated this 30th day of October, 2012, in Kansas City, Kansas.


                                                  s/ John W. Lungstrum
                                                  John W. Lungstrum
                                                  United States District Judge




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